            Case 1:21-cr-00570-APM Document 31 Filed 03/30/22 Page 1 of 1




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

  UNITED STATES OF AMERICA                        :
                                                  :    CRIMINAL NO. 1:21-cr-00570-APM
                 v.                               :
                                                  :
  LANDON KENNETH COPELAND,                        :
                                                  :
                       Defendant.                 :


                                             ORDER

          Before the Court is a Joint Motion to Continue. For the reasons set forth therein, it is

hereby:

        ORDERED that the current status hearing set for March 30, 2022 be continued to May 2,

2022 at 10:30 a.m.; and it is further

        ORDERED that the time between March 30, 2021 and May 2, 2022 be excluded

from calculation under the Speedy Trial Act. The Court finds that the ends of justice served

by the granting of such continuance outweigh the best interests of the public and the

defendant in a speedy trial, as the continuance will provide the parties with additional time

to engage in the discovery process and pretrial negotiations.

                                              Amit              Digitally signed by
                                                                Amit Mehta
DATE:                                         Mehta             Date: 2022.03.29
                                                                23:20:53 -04'00'
                                              _________________________
                                              Amit P. Mehta
                                              United States District Judge
